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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

   SUSAN HARRIMAN,                        )
                                          )
                     Plaintiff,           )
                                          )                 No. 2:18-cv-2750-DCN
               vs.                        )
                                          )                       ORDER
   ASSOCIATED INDUSTRIES INSURANCE )
   COMPANY, INC.,                         )
                                          )
                     Defendant.           )
   _______________________________________)

          The following matter is before the court on defendant Associated Industries

   Insurance Company, Inc.’s (“Associated Industries”) motion to compel compliance with

   a subpoena, ECF No. 63. On September 21, 2020, Associated Industries issued a Rule 45

   subpoena for the production of documents to Travelers Casualty Insurance Company of

   America (“Travelers”) by serving the subpoena through the South Carolina Department

   of Insurance, who forwarded the subpoena to Travelers on September 24, 2020. The

   subpoena required that Travelers produce the requested documents by October 5, 2020, a

   deadline which has now passed without response or objection from Travelers. The court

   has reviewed the subpoena and is satisfied that it complies with Fed. R. Civ. P. 45.




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          Accordingly, the court GRANTS the motion to compel and ORDERS Travelers

   to produce the documents described in the subpoena.

          AND IT IS SO ORDERED.




                                       DAVID C. NORTON
                                       UNITED STATES DISTRICT JUDGE

   November 6, 2020
   Charleston, South Carolina




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